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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                                 04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                   Defendants.


_________________________________________

IN RE

THE NEW YORK CIVIL LIBERTIES UNION,


                                   Proposed Intervenors.

__________________________________________


THOMAS J. McAVOY,
Senior United States District Judge



                                   DECISION & ORDER

        The New York Civil Liberties Union (“NYCLU”) moves to intervene in this action,

see Not. of Mot. to Intervene [dkt. # 252], and to gain

        public access to as much of this Court’s March 10, 2006, Opinion and Order and
        the government’s March 10, 2006, submission in opposition to defendants’
        suppression motion as can be made public without compromising legitimately
        classified national security information.


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Not. of Mot. For Public Access to Record [dkt. # 253]. In this regard, the movant asserts:

        The NYCLU recognizes that on March 28, 2006, this Court issued a Decision
        and Order that these documents must remain sealed in order to protect
        classified national security information. That opinion properly acknowledges
        that “[t]he presumption of openness may be overcome only by an overriding
        interest based upon findings that closure is essential to preserve higher
        values and is narrowly tailored to serve that interest.” Decision and Order
        (March 28, 2006)(Docket Entry 224)(citing Press Enterprise Co. v. Superior
        Court (Press Enterprise I), 464 U.S. 501, 510 (1984)). The question raised
        on this motion is whether the Court correctly applied the Press Enterprise
        standard when it concluded that complete secrecy was required.

NYCLU Mem. L., p. 1.

        The NYCLU contends that if there were any unclassified, or unclassifiable, legal

arguments or factual assertions in either the Government’s March 10, 2006 submission or

the Court’s March 10, 2006 Opinion and Order regarding whether or not Defendant Aref

was subjected to illegal wiretapping,1 these legal arguments or factual assertions should

be disclosed in a redacted public filing similar to that which the Court required previously in

this case. See Dkt. # 112 (Govt’s redacted CIPA filing).

        As the Court stated in the March 28, 2006 Decision and Order:

        On March 10, 2006, the Government filed materials pursuant to the
        Classified Information Procedures Act (“CIPA”) § 4 and Federal Rule of
        Criminal Procedure 16(d)(1) in opposition to the Defendants’ motion for
        reconsideration. See “Notice of Submission of in Camera, ex Parte,
        Classified Memorandum and Response to Defendants’ Motion for
        Reconsideration [Redacted]” [dkt. # 205]. The Government represented that
        the materials contained classified information impacting the national security
        of this Country. . . . The Government also presented a proposed Order that
        contained information deemed classified by the Government.



        1
         As indicated in the March 28, 2006 Decision and Order, on March 10, 2006 the Court signed two
orders. One was designated a “classified Order” because it contained inform ation deem ed classified by the
Governm ent. The other was a public Order related to the classified Order. See March 10, 2006 Order [dkt. #
206]. The Court understands the present m otion to pertain to the March 10, 2006 classified Order.

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March 28, 2006 Decision and Order, p. 1 (emphasis added). None of the cases cited by

the NYCLU stand for the proposition that once members of the Executive Branch have

determined that certain material is classified under the doctrine of national security, the

Court can challenge that classification when presented with the material in a court of law.2

        2
          The NYCLU cites McGehee v. Casey, 718 F.2d 1137, 1147-49 (D.C. Cir. 1983) for the proposition
that the Court m ust engage in de novo review of the Governm ent’s decision to classify the docum ents in
issue here because the NYCLU has challenged the classification decision. McGehee does not apply to the
instant case.

         In McGehee the District of Colum bia Circuit Court addressed a form er Central Intelligence Agency
(“CIA”) agent’s First Am endm ent challenged to the CIA’s determ ination to classify his post-em ploym ent
writings as containing inform ation im pacting national security and prevent the writings from being published.
W hile the Circuit Court did conduct a review to determ ine whether the CIA’s determ ination to classify the
writings was proper, the McGehee Court explained that the review was required because of the unique
circum stances presented in that case - circum stances that do not exist in the instant m atter. In this regard,
the District of Colum bia Circuit Court wrote:

        The district court found that the CIA “properly classified the [relevant] docum ents and [was]
        warranted in their censorship” of portions of McGehee's article. W e agree, although we take
        this opportunity to clarify the standard of judicial review appropriate to a case such as
        this one.

        This case arises in a posture significantly different from a request for release of CIA
        docum ents under the Freedom of Inform ation Act (FOIA). In a FOIA case, an individual
        seeks to com pel release of docum ents in the governm ent's possession. Here, by contrast,
        McGehee w ishes publicly to disclose information that he already possesses, and the
        governm ent has ruled that his secrecy agreem ent forbids disclosure.

        This difference betw een seeking to obtain information and seeking to disclose
        information already obtained raises M cGehee's constitutional interests in this case
        above the constitutional interests held by a FOIA claimant. As a general rule, citizens
        have no first amendment right of access to traditionally nonpublic government
        information. See, e.g., Houchins v. KQED, Inc., 438 U.S. 1, 8-9, 98 S.Ct. 2588, 2593, 57
        L.Ed.2d 553 (1978)(plurality opinion); id. at 16, 98 S.Ct. at 2597 (Stewart, J., concurring);
        Saxbe v. W ashington Post Co., 417 U.S. 843, 849, 94 S.Ct. 2811, 2814, 41 L.Ed.2d 514
        (1974); Pell v. Procunier, 417 U.S. 817, 831-32, 94 S.Ct. 2800, 2808-09, 41 L.Ed.2d 495
        (1974). A litigant seeking release of governm ent inform ation under FOIA, therefore, relies
        upon a statutory entitlem ent-as narrowed by statutory exceptions-and not upon his
        constitutional right to free expression.

        In this case, however, M cGehee wishes to publish information he possesses, and the
        CIA wishes to silence him.

McGehee, 718 F.2d at 1147 (em phasis added).

        As the Governm ent points out, not even the Defendants (or their attorneys) have been provide with
                                                                                                   (continued...)

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Indeed, to hold otherwise would open every case involving classified information under the

Classified Information Procedures Act to numerous (and undoubtedly lengthy) min-trials in

which the Judiciary - not the Executive Branch - becomes the arbiter of this Country’s

national security. That clearly is not the Court’s function in a CIPA case. See CIPA § 1

(defining “classified information” as “any information or material that has been determined

by the United States Government pursuant to an Executive order, statute, or regulation, to

require protection against unauthorized disclosure for reasons of national security”)

(emphasis added); Exec. Order No. 12,958 § 1.3(a)(1)-(3), 60 Fed. Reg. 19,825, 19,826

(Apr. 17, 1995); 28 C.F.R. § 17.21; see also United States v. Smith, 750 F.2d 1215, 1217

(4th Cir. 1984)(“[T]he government ... may determine what information is classified. A

defendant cannot challenge this classification. A court cannot question it.”), rev'd on other

grounds on reh'g, 780 F.2d 1102 (4th Cir. 1985)(en banc); United States v. Musa, 833 F.

Supp. 752, 755 (E.D. Mo. 1993)(“The determination whether to designate information as

classified is a matter committed to the executive branch.”).

        In the situation regarding the Government’s March 10, 2006 submissions (including

the proposed “classified Order”), the Government represented that all of the material was

deemed classified by the Government. As indicated by the Court’s March 28, 2006

Decision and Order, the Court weighed the Defendants’ and the public’s interest in the

documents (including the Court’s “classified Order”) but determined that there could be no

public access to these documents without compromising classified national security



        2
            (...continued)
the classified inform ation contained in the March 6, 2006 docum ents. Thus, the NYCLU’s reliance on
McGehee in this case is m isplaced.

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information. Nonetheless, the Court inquired of the government whether a redacted,

unclassified document could be filed. The government has filed such a redacted

document containing unclassified information, see dkt. # 433, and an “In Camera Ex Parte

Classified Memorandum In Response to the Court's Inquiry Regarding Declassification

and Unsealing of the Government's March 10, 2006 Filing.” See dkt. # 432. Other than

providing (a) an identification of the signatory of the “Government’s In Camera, Ex Parte

Classified Memorandum and Response to the Defendants’ Motion for Reconsideration”

dated March 10, 2006; (b) an identification of the declarant of the government’s

Declaration in support of sealing the March 10, 2006 submissions, and (c) the authority by

which the declarant acted, the redacted documents provide no substantive information. As

represented by the Government previously, the Government contends that the remainder

of the information contained in the March 10, 2006 submissions constitutes classified

information impacting the national security of this Nation.

       Accordingly, since the Court has already applied the standard advocated for by the

NYCLU, and since the public gained “public access to as much of this Court’s March 10,

2006, Opinion and Order and the government’s March 10, 2006, submission in opposition

to defendants’ suppression motion as can be made public without compromising

legitimately classified national security information,” the NYCLU’s application to open

sealed portions of the record [dkt. # 253] is DENIED. Furthermore, since the issue raised

in the NYCLU’s application was, in essence, decided before the instant application was

made and was based upon the standard advocated for by the NYCLU in its present

application, the Court finds no reason to grant the NYCLU intervention in this action.



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Consequently, the motion for intervention [dkt. # 252] is also DENIED.

IT IS SO ORDERED.

DATED:February 22,2007




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